EXHIBIT A
ATTACHMENT A
From: Yvonnilda Muniz <ygmuniz@outlook.com>
Subject: Ethlokia Plumber/K.W. v. HCDE
Date: October 5, 2020 at 12:20:06 PM CDT
To: Melissa Goins <mgoins@kbslawgroup.com>, Erik Nichols
<enichols@kbslawgroup.com>

Melissa -

Tomorrow is the deadline for me to submit expert reports. I am
writing to see if you all agree or are opposed to an extension to
that deadline. I will agree to an equal extension of time for you all
to submit expert reports. I would like to request a months
extension. The reasons I will offer are my health (I am trying a
new medication prescribed by the specialist but need time to see
if it will work) and the difficulty to get records because of
COVID. Do you all agree?

Yvonnilda
Yvonnilda Muñiz

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                                                                      ATT. A -001
ATTACHMENT B
From: Yvonnilda Muniz <ygmuniz@outlook.com>
Subject: Kenneth W./HCDE
Date: October 30, 2020 at 12:16:33 PM CDT
To: Melissa Goins <mgoins@kbslawgroup.com>, Erik Nichols
<enichols@kbslawgroup.com>

Melissa and Erik -

I have uploaded the medical records from Baylor St. Lukes in the
Dropbox folder.

You should have received an email from Dropbox alerting you to
the addition.

I still have not receive the medical records from Texas Children’s
Hospital. They claim to have sent them twice. I’ll call them again
to check on the status of those records.

Let me know if you have any questions.

Yvonnilda
Yvonnilda Muñiz

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                                                                     ATT. B - 001
